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  1   Seth M. Lehrman (178303)
      seth@epllc.com
  2   EDWARDS POTTINGER LLC
      425 North Andrews Avenue, Suite 2
  3   Fort Lauderdale, FL 33301
      Telephone: 954-524-2820
  4   Facsimile: 954-524-2822
  5   Attorney for Plaintiff
      Vanessa Camacho
  6
  7
  8                            UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                   EASTERN DIVISION
 11   VANESSA CAMACHO, individually and ) CASE NO.
      on behalf of all others similarly situated, )
 12                                               )
                                 Plaintiff,       ) CLASS ACTION COMPLAINT
 13                                               )
            v.                                    )
 14
      HYDROPONICS, INC.,                          ) JURY TRIAL DEMANDED
 15                                               )
                                 Defendant.       )
 16                                               )
                                                  )
 17                                               )
 18
              Plaintiff, Vanessa Camacho (hereinafter “Plaintiff”), brings this class action
 19
      under Rule 23 of the Federal Rules of Civil Procedure against Hydroponics, Inc.
 20
      (“Hydroponics” or “Defendant”) for its violations of the Telephone Consumer
 21
      Protection Act, 47 U.S.C. § 227 (hereinafter “the TCPA”), and the regulations
 22
      promulgated thereunder. In support, Plaintiff alleges as follows:
 23
                                PRELIMINARY STATEMENT
 24
         1.      Plaintiff brings this Class Action Complaint for damages, injunctive relief,
 25
      and any other available legal or equitable remedies, resulting from the illegal actions
 26
      of Defendant in negligently or willfully contacting Plaintiff on Plaintiff’s cellular
 27
      telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227
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  1   (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon
  2   personal knowledge as to herself and her own acts and experiences, and, as to all
  3   other matters, upon information and belief, including investigation conducted by her
  4   attorneys.
  5       2.      “Month after month, unwanted robocalls and texts, both telemarketing and
  6   informational, top the list of consumer complaints received by the [FCC].”1 The
  7   TCPA is designed to protect consumer privacy by, among other things, prohibiting
  8   the making of autodialed or prerecorded-voice calls to cell phone numbers and
  9   failing to institute appropriate do-not-call procedures. 47 U.S.C. § 227(b)(1)(A)(iii);
 10   47 C.F.R. § 64.1200(d).
 11       3.      The TCPA was designed to prevent calls like the ones described within
 12   this complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
 13   consumer complaints about abuses of telephone technology – for example,
 14   computerized calls dispatched to private homes – prompted Congress to pass the
 15   TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 16        4.     Additionally, the FCC has explicitly stated that the TCPA’s prohibition on
 17   automatic telephone dialing systems “encompasses both voice calls and text calls to
 18   wireless numbers including, for example, short message service (SMS) calls.”
 19   U.S.C.A. Const. Amend. 5; Telephone Consumer Protection Act of 1991, § 3(a), 47
 20   U.S.C. § 227(b)(1)(A)(iii). Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165 (N.D.
 21   Cal. 2010).
 22        5.     In enacting the TCPA, Congress intended to give consumers a choice as to
 23   how creditors and telemarketers may call them and made specific findings that
 24   “[t]echnologies that might allow consumers to avoid receiving such calls are not
 25
      universally available, are costly, are unlikely to be enforced, or place an inordinate
 26
 27
 28   1
               In re Rules & Regs. Implementing the TCPA, 30 FCC Rcd. 7961, ¶ 1 (2015).
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                                                                         CLASS ACTION COMPLAINT
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  1   burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward this end,
  2   Congress found that:
  3         [b]anning such automated or prerecorded telephone calls to the home,
  4         except when the receiving party consents to receiving the call or when
            such calls are necessary in an emergency situation affecting the health
  5         and safety of the consumer, is the only effective means of protecting
  6         telephone consumers from this nuisance and privacy invasion.
  7         Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
  8   WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on
  9   TCPA’s purpose).
 10        6.   In an action under the TCPA, a plaintiff must only show that the defendant
 11   “called a number assigned to a cellular telephone service using an automatic dialing
 12   system or prerecorded voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d
 13   1316, 1319 (S.D. Fla. 2012), aff'd, 755 F.3d 1265 (11th Cir. 2014).
 14                             JURISDICTION AND VENUE
 15        7.   This Court has federal question subject matter jurisdiction pursuant to 28
 16   U.S.C. § 1331 and 47 U.S.C. § 227.
 17        8.   Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2),
 18   because a substantial part of the events or omissions giving rise to the claims in this
 19   case occurred in this District, including Defendant’s transmission of the unlawful
 20   and unwanted calls to Plaintiff.
 21        9.   The Court has personal jurisdiction over Defendant because it conducts
 22   business in this state, markets its services within this state, and has availed itself to
 23   the jurisdiction of this state by placing calls to Plaintiff and Class Members in and
 24   from this state.
 25
                                            PARTIES
 26
           10. Plaintiff’s domicile is in Riverside, California.
 27
 28
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  1        11. Defendant is a California Profit Corporation and citizen of the state of
  2   California, listing its principal address at 17 Corporate Plaza, Newport Beach, CA
  3   92660. Hydroponics is also registered in the state of California.
  4        12. Defendant promotes and markets its services by calling wireless telephone
  5   users in violation of the TPCA.
  6        13. Defendant, directly or through other persons, entities or agents acting on
  7   its behalf, conspired to, agreed to, contributed to, authorized, assisted with, and/or
  8   otherwise caused all of the wrongful acts and omissions, including the dissemination
  9   of the unsolicited calls that are the subject matter of this Complaint.
 10                              FACTUAL ALLEGATIONS
 11        14. At all times relevant, Plaintiff, and at all times mentioned herein was, a
 12   “person” as defined by 47 U.S.C. § 153 (39).
 13        15. Defendant is a citizen of the State of California, and at all times mentioned
 14   herein was, a corporation and “persons,” as defined by 47 U.S.C. § 153(39).
 15        16. At all times relevant Defendant conducted business in the State of
 16   California in Orange County, within this judicial district.
 17        17. Defendant utilizes automated telemarketing text messages to market and
 18   advertise Defendant’s business and services, including at least three (3) messages to
 19   Plaintiff, from September 18, 2019 to October 29, 2019, attached below:
 20
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                                                                    CLASS ACTION COMPLAINT
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           18. The text messages were transmitted to Plaintiff’s 3760 Number, and within
 16
      the time period that is relevant to this action.
 17
           19. At no time did Plaintiff provide Plaintiff’s cellular number to Defendant
 18
      through any medium, nor did Plaintiff consent to receive such unsolicited text
 19
      messages.
 20
           20. Plaintiff has never signed-up for, and has never used, Defendant’s services,
 21
      and has never had any form of business relationship with Defendant.
 22
           21. Plaintiff is the subscriber and sole user of the 3760 Number and is
 23
      financially responsible for phone service to the 3760 Number, including the cellular
 24
      costs and data usage incurred as a result of the unlawful text messages made to
 25
      Plaintiff by Defendant.
 26
           22. Through the unsolicited messages, Defendant contacted Plaintiff on
 27
      Plaintiff’s cellular telephone regarding an unsolicited service via an “automatic
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  1   telephone dialing system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1) and
  2   prohibited by 47 U.S.C. § 227(b)(1)(A).
  3        23. Upon information and belief, this ATDS has the capacity to store or
  4   produce telephone numbers to be called, using a random or sequential number
  5   generator.
  6        24. Upon information and belief, this ATDS has the capacity to store numbers
  7   and to dial numbers without human intervention.
  8        25. Upon information and belief, Defendant used a combination of hardware
  9   and software systems which have the capacity to generate or store random or
 10   sequential numbers or to dial sequentially or randomly in an automated fashion
 11   without human intervention.
 12        26. The impersonal and generic nature of the text messages that Defendant
 13   sent to Plaintiff further demonstrates that Defendant used an ATDS to send the
 14   subject messages.
 15        27. The content of the text messages made to Plaintiff and the Class Members
 16   show that they were for the purpose of marketing, advertising, and promoting
 17   Defendant’s business and services to Plaintiff as part of an overall telemarketing
 18   strategy.
 19        28. These messages were not for emergency purposes as defined by 47 U.S.C.
 20   § 227(b)(1)(A)(i).
 21        29. Plaintiff did not provide Defendant or its agents prior express consent to
 22   receive messages to her cellular telephone; therefore, the unsolicited messages
 23   violated 47 U.S.C. § 227(b)(1)
 24        30. Defendant is and was aware that it is transmitting unsolicited telemarketing
 25
      text messages to Plaintiff and other consumers without their prior express consent.
 26
           31. Plaintiff was damaged by Defendant’s messages. In addition to using
 27
      Plaintiff’s residential cellular data, phone storage, and battery life, her privacy was
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                                                                    CLASS ACTION COMPLAINT
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  1   wrongfully invaded, her seclusion was intruded upon, and Plaintiff has become
  2   understandably aggravated with having to deal with the frustration of repeated,
  3   unwanted messages, forcing her to divert attention away from her work and other
  4   activities. Not only did the receipt of the text messages distract Plaintiff away from
  5   her personal activities, Plaintiff was forced to spend time investigating the source of
  6   the calls and who sent them to her. See Muransky v. Godiva Chocolatier, Inc., 905
  7   F.3d 1200, 1211 (11th Cir. 2018). (“[T]ime wasting is an injury in fact”…. “[A]
  8   small injury… is enough for standing purposes”).
  9                          CLASS ACTION ALLEGATIONS
 10        32. Plaintiff brings this class action under Rule 23(a),(b)(2), and(b)(3) of the
 11   Federal Rules of Civil Procedure on behalf of herself and of a similarly situated
 12   “Class” or “Class Members” defined as:
 13         No Consent Class: All persons within the United States who, within
 14         the four years prior to the filing of this Complaint, were sent a text
            message by Defendant or anyone on Defendant’ behalf, to said person’s
 15         cellular telephone number, advertising Defendant’s services, without
 16         the recipients prior express consent, using the same equipment used to
            call Plaintiff’s cellular telephone, in violation of the TCPA.
 17
 18        33. Excluded from the Class are Defendant, and any subsidiary or affiliate of
 19   Defendant, and the directors, officers and employees of Defendant or its subsidiaries
 20   or affiliates, and members of the federal judiciary.
 21        34. This action has been brought and may properly be maintained as a class
 22   action against Defendant pursuant to Rule 23 of the Federal Rules of Civil Procedure
 23   because there is a well-defined community of interest in the litigation and the
 24   proposed Class is easily ascertainable. Plaintiff reserves the right to amend the Class
 25   definition if discovery and further investigation reveal that any Class should be
 26   expanded or otherwise modified.
 27        35. Numerosity: At this time, Plaintiff does not know the exact number of
 28   Class Members, but among other things, given the nature of the claims and that
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  1   Defendant’s conduct consisted of standardized SPAM campaign calls placed to
  2   cellular telephone numbers, Plaintiff believes, at a minimum, there are greater than
  3   forty (40) Class Members. Plaintiff believes that the Class is so numerous that
  4   joinder of all members of the Class is impracticable and the disposition of their
  5   claims in a class action rather than incremental individual actions will benefit the
  6   Parties and the Court by eliminating the possibility of inconsistent or varying
  7   adjudications of individual actions.
  8        36. Upon information and belief, a more precise Class size and the identities
  9   of the individual members thereof are ascertainable through Defendant’s records,
 10   including, but not limited to Defendant’s calls and marketing records.
 11        37. Members of the Class may additionally or alternatively be notified of the
 12   pendency of this action by techniques and forms commonly used in class actions,
 13   such as by published notice, e-mail notice, website notice, fax notice, first class mail,
 14   or combinations thereof, or by other methods suitable to this class and deemed
 15   necessary and/or appropriate by the Court.
 16        38. Existence and Predominance of Common Questions of Fact and Law:
 17   There is a well-defined community of common questions of fact and law affecting
 18   the Plaintiff and members of the Class. Common questions of law and/or fact exist
 19   as to all members of the Class and predominate over the questions affecting
 20   individual Class members. These common legal and/or factual questions include,
 21   but are not limited to, the following:
 22             a. Whether, within the four years prior to the filing of this Complaint,
 23                Defendant or its agents called (other than a message made for
 24                emergency purposes or made with the prior express consent of the
 25
                   called party) to a Class member using any automatic dialing to any
 26
                   telephone number assigned to a cellular phone service;
 27
                b. How Defendant obtained the numbers of Plaintiff and Class members;
 28
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  1               c. Whether the dialing system used to call is an Automatic Telephone
  2                  Dialing System;
  3               d. Whether Defendant engaged in telemarketing when it sent the text
  4                  messages which are the subject of this lawsuit;
  5               e. Whether the calls made to Plaintiff and Class Members violate the
  6                  TCPA and its regulations;
  7               f. Whether Defendant willfully or knowingly violated the TCPA or the
  8                  rules prescribed under it;
  9               g. Whether Plaintiff and the members of the Class are entitled to statutory
 10                  damages, treble damages, and attorney fees and costs for Defendant’s
 11                  acts and conduct;
 12               h. Whether Plaintiff and members of the Class are entitled to a permanent
 13                  injunction enjoining Defendant from continuing to engage in its
 14                  unlawful conduct; and
 15               i. Whether Plaintiff and the Class are entitled to any other relief.
 16       39. One or more questions or issues of law and/or fact regarding Defendant’s
 17   liability are common to all Class Members and predominate over any individual
 18   issues that may exist and may serve as a basis for class certification under Rule
 19   23(c)(4).
 20       40. Typicality: Plaintiff’s claims are typical of the claims of the members of
 21   the Class. The claims of the Plaintiff and members of the Class are based on the
 22   same legal theories and arise from the same course of conduct that violates the
 23   TCPA.
 24       41. Plaintiff and members of the Class each received at least one telephone
 25
      call, advertising the Defendant’s hydroponics products or services, which Defendant
 26
      placed or caused to be placed to Plaintiff and the members of the Class.
 27
 28
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   1        42. Adequacy of Representation: Plaintiff is an adequate representative of
   2   the Class because Plaintiff’s interests do not conflict with the interests of the
   3   members of the Class. Plaintiff will fairly, adequately and vigorously represent and
   4   protect the interests of the members of the Class and has no interests antagonistic to
   5   the members of the Class. Plaintiff has retained counsel competent and experienced
   6   in litigation in the federal courts, TCPA litigation, and class action litigation.
   7        43. Superiority: A class action is superior to other available means for the fair
   8   and efficient adjudication of the claims of the Class. While the aggregate damages
   9   which may be awarded to the members of the Class are likely to be substantial, the
  10   damages suffered by individual members of the Class are relatively small. As a
  11   result, the expense and burden of individual litigation makes it economically
  12   infeasible and procedurally impracticable for each member of the Class to
  13   individually seek redress for the wrongs done to them. Plaintiff does not know of
  14   any other litigation concerning this controversy already commenced against
  15   Defendant by any member of the Class. The likelihood of the individual members
  16   of the Class prosecuting separate claims is remote. Individualized litigation would
  17   also present the potential for varying, inconsistent or contradictory judgments, and
  18   would increase the delay and expense to all parties and the court system resulting
  19   from multiple trials of the same factual issues. In contrast, the conduct of this matter
  20   as a class action presents fewer management difficulties, conserves the resources of
  21   the parties and the court system, and would protect the rights of each member of the
  22   Class. Plaintiff knows of no difficulty to be encountered in the management of this
  23   action that would preclude its maintenance as a class action.
  24        44. Class-Wide Injunctive Relief and Rule 23(b)(2): Moreover, as an
  25
       alternative to or in addition to certification of the Class under Rule 23(b)(3), class
  26
       certification is warranted under Rule 23(b)(2) because Defendant has acted on
  27
       grounds generally applicable to Plaintiff and members of Class, thereby making
  28
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   1   appropriate final injunctive relief with respect to Plaintiff and Class Members as a
   2   whole. Plaintiff seeks injunctive relief on behalf of Class Members on grounds
   3   generally applicable to the entire Class in order to enjoin and prevent Defendant
   4   Defendant’s ongoing violations of the TCPA, and to order Defendant to provide
   5   notice to them of their rights under the TCPA to statutory damages and to be free
   6   from unwanted calls.
   7                            COUNT I
   8    VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                            47 U.S.C. § 227(b)
   9
  10        45. Plaintiff incorporates by reference all of the allegations contained in all of
  11   the above paragraphs 1 through 44 of this Complaint as though fully stated herein.
  12        46. It is a violation of the TCPA to make “any call (other than a call made for
  13   emergency purposes or made with the prior express consent of the called party) using
  14   any automatic telephone dialing system. . .to any telephone number assigned to a . .
  15   . cellular telephone service . . .” 47 U.S.C. § 227(b)(1)(A)(iii).
  16        47. Automatic telephone dialing system refers to “equipment which has the
  17   capacity---(A) to store or produce telephone numbers to be called, using a random
  18   or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §
  19   227(a)(1).
  20        48. Defendant—or third parties directed by Defendant—used equipment
  21   having the capacity to randomly or sequentially generate telephone numbers and to
  22   dial such numbers without human intervention to make non-emergency telephone
  23   calls to the cellular telephones of Plaintiff and the other members of the Class
  24   defined above.
  25        49. These calls were made without regard to whether or not Defendant had
  26   first obtained express permission from the called party to make such calls. In fact,
  27   Defendant did not have prior express consent to call the cellular phones of Plaintiff
  28   and the other members of the putative Class when its calls were made.
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   1       50. Defendant has, therefore, violated Section 227(b)(1)(A)(iii) of the TCPA
   2   by using an automatic telephone dialing system to make non-emergency telephone
   3   calls to the cellular phones of Plaintiff and the other members of the putative Class
   4   without their prior express written consent.
   5       51. The foregoing acts and omissions of Defendant constitute numerous and
   6   multiple violations of the TCPA, including but not limited to each and every one of
   7   the above-cited provisions of 47 U.S.C. § 227.
   8       52. As a result of Defendant’s negligent violations of 47 U.S.C. § 227, Plaintiff
   9   and the Class are entitled to an award of $500.00 in statutory damages, for each and
  10   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
  11       53. At all relevant times, Defendant knew or should have known that its
  12   conduct as alleged herein violated the TCPA.
  13       54. Defendant knew that it did not have prior express consent to make these
  14   calls and knew or should have known that its conduct violated the TCPA.
  15       55. Because Defendant knew or should have known that Plaintiff and Class
  16   Members did not give prior express consent to receive autodialed calls, the Court
  17   should treble the amount of statutory damages available to Plaintiff and members of
  18   the Putative Class pursuant to Section 227(b)(3)(C).
  19       56. As a result of Defendant knowing and/or willful violations of 47 U.S.C. §
  20   227(b), Plaintiff and the Class are entitled to an award of $1,500.00 in statutory
  21   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
  22       57. Plaintiff and the Class are also entitled to and seek injunctive relief
  23   prohibiting such conduct in the future.
  24       WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the
  25
       Class members relief against Defendant, as set forth in the Prayer for Relief below.
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   1                                PRAYER FOR RELIEF
   2         WHEREFORE, Plaintiff requests that the Court enter judgment in her favor
   3   and in favor of the class, against Defendant for:
   4            a. An order certifying this case as a class action, certifying Plaintiff as
   5                representative of the Class, and designating Plaintiff’s counsel as Class
   6                counsel;
   7            b. Statutory damages of $500 per call in violation of the TCPA;
   8            c. Willful damages at $1,500 per call in violation of the TCPA;
   9            d. A declaration that Defendant’s practices described herein violate the
  10                Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A)(iii);
  11            e. An injunction prohibiting Defendant from using an automatic telephone
  12                dialing system to call numbers assigned to cellular telephones without
  13                the prior express written consent of the called party;
  14            f. Reasonable attorney’s fees and costs; and
  15            g. Such further and other relief as this Court deems reasonable and just.
  16                             DEMAND FOR JURY TRIAL
  17         Plaintiff demands a trial by jury.
  18
       DATED: May 6, 2020                 EDWARDS POTTINGER LLC
  19
  20                                      By: /s/ Seth M. Lehrman
                                              Seth M. Lehrman
  21                                          Attorney for Plaintiff
                                              Vanessa Camacho
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